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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MARC HAYES                                 :
                                           :
      v.                                   :       CIVIL ACTION NO. 24-797
                                           :
CITY OF PHILADELPHIA                       :

                                    ORDER

      This 29th day of April, 2024, Plaintiff having filed an Amended Complaint, it is hereby

ORDERED that Defendant’s Motion to Dismiss (ECF 5) is DENIED as MOOT.


                                                     /s/ Gerald Austin McHugh
                                                   United States District Judge
